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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                             OWENSBORO DIVISION
                     CRIMINAL ACTION NO. 4:21-CR-00029-JHM-1


UNITED STATES OF AMERICA                                                            PLAINTIFF


VS.


DARRELL MURPHY                                                                    DEFENDANT


                                 MEMORANDUM OPINION
                                     AND ORDER

       Before the Court is Defendant Darrell Murphy’s motion to set a detention hearing or, in

the alternative, to request a review of the Magistrate Judge’s Order of Detention (DN 37).

                                        BACKGROUND

       On August 11, 2021 the Grand Jury returned an indictment charging Murphy and four other

co-conspirators with conspiracy to possess with intent to distribute methamphetamine (DN 1). On

August 18, 2021, Murphy appeared for his initial appearance (DN 15). Murphy requested the

appointment of counsel, and the Office of the Federal Public Defender was assigned to represent

him (Id.). The United States moved that Murphy be detained in the matter, as a rebuttable

presumption in favor of detention was mandated by 18 U.S.C. § 3142(e)(3)(A) (DN 16).

       On August 19, 2021, the undersigned conducted a detention hearing (DN 23). Murphy was

present and represented by his appointed attorney, Assistant Federal Defender Chastity Beyl (Id.).

Counsel for the parties presented arguments and the undersigned concluded that Murphy had not

rebutted the presumption in favor of detention (DN 16).
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                                      MURPHY’S MOTION

       Murphy is now represented by new counsel (see DN 25, 26). Murphy notes in his motion

that “[i]t does not appear the Magistrate Judge held an evidentiary hearing prior to detaining

Murphy. Murphy now requests an evidentiary hearing so he can present sufficient evidence to

rebut the presumption of detention” (DN 37, p. 1). In the alternative, Murphy states that, should

the undersigned believe that Murphy already had an evidentiary hearing, that the District Judge

review the detention order under 18 U.S.C. § 3145(b), so that he might present evidence to rebut

the presumption of detention (Id. at pp. 1-2).

                                          DISCUSSION

       18 U.S.C. § 3142(f)(1) provides that a detention hearing shall be held on the government’s

motion in cases involving a federal drug offense carrying a penalty of ten years or more. The

defendant has the right to be represented by counsel during the hearing, to present witnesses, to

cross-examine witnesses who appear at the hearing, and to present information by proffer or

otherwise. Id. §3142(f)(2). The rules of evidence do not apply in a detention hearing. Id.

Likewise, the government may proceed in a detention hearing by proffer or hearsay. United States

v. Stone, 608 F.3d 939, 949 (6th Cir. 2010); United States v. Webb, No. 00-6368, 2000 U.S. App.

LEXIS 28040, *5 (6th Cir. Nov. 6, 2000).

       At the detention hearing held on August 19, 2021 Murphy was represented by counsel and

elected to challenge the presumption in favor of detention by way of proffer by counsel. He was

afforded the opportunity to present witnesses but chose not to do so, nor did he request additional

time to procure the attendance of any witness. As such, he has already been provided the

evidentiary hearing to which he is entitled under the statute.




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       Murphy has not asserted his motion under 18 U.S.C. § 3142(f)(2) for reopening the

detention hearing and has not argued that he wishes to present evidence that was not known or

available to him at the time of the original hearing. Rather, his alternative request in the motion is

for a review of the order of detention under 18 U.S.C. § 3145(b), which is conducted by the District

Judge. Consequently, Murphy’s motion is partially within the jurisdiction of the undersigned, and

partially within the jurisdiction of the district judge. The undersigned has resolved that portion

within his jurisdiction and, therefore, directs the Clerk to submit the motion to the district judge

for further consideration.

                                              ORDER

       WHEREFORE:

       IT IS HEREBY ORDERED that Defendant Darrell Murphy’s motion for a detention

hearing (DN 37) is DENIED IN PART.               The request for a detention hearing before the

undersigned is DENIED.

       The Clerk is DIRECTED to submit this motion to the District Judge for consideration of

Murphy’s request for review of the detention order.




                       December 1, 2021




       Copies:         Counsel of Record




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